                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

In Re:                                     §                Case No. 16-10158-TMD
MICHAEL E. HUMPHREYS                       §
 DEBRA D. HUMPHREYS                        §
       Debtor(s)                           §                       Chapter 7

             MOTION TO SELL REAL PROPERTY FREE AND CLEAR
           OF LIENS PURSUANT TO §§363(b) and (f) AND REQUESTING
           WAIVER OF RULE 6004(h) REQUIREMENT OF 14-DAY STAY

      This pleading requests relief that may be adverse to your interests.

      If no timely response is filed within 21 days from the date of service, the relief
      requested herein may be granted without a hearing being held.

      A timely response is necessary for a hearing to be held.

      Ron Satija, (“Trustee”) Chapter 7 Trustee files this Motion to Sell Real Property

Free and Clear of Liens Pursuant to §§363(b) and (f) and Requesting Waiver of Rule

6004(h) Requirement of 14-day Stay, and would show the Court as follows:

      1.     This case was filed on February 2, 2016. The movant is the Trustee

appointed in this case.

      2.     Among the assets of the Estate was real property located at 300 Tallwood

Trace, Saint Johns, FL, 32259, described as 38/1-7 Julington Creek Plantation Parcel 30

Lot 50 OR1475/945 (the “Property”). The Trustee proposes to sell the Property via a

"Consented Sale" to Micah J. Ray and Shannon L. Ray (“Buyers”), 5244 Julington Creek

Road Jacksonville, Florida 32258.

      3.     The gross sales price of the Property is $355,000.00 with a “bankruptcy

carve out" in the amount of approximately $20,000.00. All other closing costs that would

normally be paid at the close of escrow, such as; real property taxes, brokerage
commissions, escrow charges, title charges, closing costs and other costs of sale shall

be paid through escrow from the sale proceeds.

       4.         FCI Lender Services, Inc. is the first lienholder, and JP Morgan Chase is

the second leinholder. The Trustee anticipates that FCI Lender Services, Inc. and JP

Morgan Chase will have no objection to the sale as proposed (i.e. FCI Lender Services,

Inc.’s &and JP Morgan Chase’s lien(s) will be paid at the amount agreed to by the lender

as full satisfaction of its liens), all approved costs will be paid through escrow and the

Estate will receive the benefit of approximately $20,000.00 "bankruptcy carve out."

       5.         The Trustee understands (and as is customary) that at closing, FCI Lender

Services, Inc. and JP Morgan Chase may want to negotiate the final allowed or disallowed

costs and/or the final payoff to the lender. Provided that the Estate receives the

$20,000.00 "bankruptcy carve out” at closing, the Trustee requests authorization to work

with and agree with the lenders to resolve the allowance and disallowance of costs and/or

payoff amounts as part of the escrow closing without the need for further notice, hearing

or Court order. The following chart sets forth and accounts for all of the recorded liens

and encumbrances against the Property described in the estimated ALTA settlement

statement and their proposed treatment through the sale:

                                   Estimated
                                                 Proposed
   Creditor         Description     Amount                        Treatment of Lien Through Sale
                                                  Payout
                                     Owed

                                                              This lien will be paid through escrow on
                                                              the sale of the Property in the amount
                                                              approved by FCI Lender Services, Inc.
  FCI Lender                                                  Thus, this lien will be released,
                     First Lien   $229,688.95   $229,688.95
 Services, Inc.                                               discharged and terminated at the close
                                                              of escrow and the Property will be sold
                                                              free and clear of this lien and the lien
                                                              will not attach to the sale proceeds.

  JP Morgan         Second Lien    $71,715.16    $71,715.16   This lien will be paid through escrow on
   Chase                                                      the sale of the Property in the amount
                                                              approved by JP Morgan Chase. Thus,
                                                              this lien will be released, discharged
                                                              and terminated at the close of escrow
                                                              and the Property will be sold free and
                                                              clear of this lien and the lien will not
                                                              attach to the sale proceeds.

  Title Ins      Title Ins Seller                             Title Ins Seller Credit will be paid in full
                                     $1,850.00    $1,850.00
Seller Credit         Credit                                  through escrow on the sale transaction.

 St Johns                                                     All outstanding real property taxes will
  County          2017 Taxes         $2,424.81    $2,424.81   be paid in full through escrow on the
 Treasurer                                                    sale transaction.

                                                              Survey fee will be paid in full through
 Survey Fee        Survey Fee         $500.00      $500.00
                                                              escrow on the sale transaction.

Prominence                                                    Title settlement fees will be paid in full
                 Title Settlement
  Title &                            $1,750.00    $1,750.00   through escrow on the sale transaction.
                       Fees
  Escrow

  Westcor                                                     Title search fees will be paid in full
                  Title Search
 Land Title                            $60.00       $60.00    through escrow on the sale transaction.
                       Fee
  Ins. Co.

                                                              Transfer tax will be paid in full through
  Simplifile      Transfer Tax       $2,485.00    $2,485.00
                                                              escrow on the sale transaction.

Elite Property                                                Estoppel fee will be paid in full through
                  Estoppel Fee        $750.00      $750.00
  Research                                                    escrow on the sale transaction.

                                                              Municipal lien certificate will be paid in
Elite Property   Municipal Lien
                                      $179.00      $179.00    full through escrow on the sale
  Research        Certificate
                                                              transaction.

 Julington                                                    Estoppel Preparation fee will be paid in
   Creek            Estoppel                                  full through escrow on the sale
                                      $100.00      $100.00
 Plantation      Preparation fee                              transaction.
    POA

 Ansbacher         Delinquent                                 Delinquent HOA fees will be paid in full
                                     $1,696.22    $1,696.22
    Law            HOA Fees                                   through escrow on the sale transaction.

                                                              Bankruptcy Estate Fee will be paid in
 Ron Satija,       Bankruptcy
                                    $20,837.47   $20,837.47   full through escrow on the sale
  Trustee          Estate Fee
                                                              transaction.

                                                              Broker commissions will be paid in full
                                                              through escrow on the sale transaction:
  Broker
                  Commissions       $21,300.00   $21,300.00       A. $7,100.00 Core Realty, LLC
Commissions
                                                                  B. $7,100.00 Crossview Realty
                                                                  C. $7,100.00 BKGlobal
        6.     The proposed Real Estate Purchase and Sale Agreement is attached as

Exhibit “A” and the estimated ALTA settlement statement is attached as Exhibit “B” copies

of which have been filed with this motion and may be requested from the Trustee.

        7.     The Trustee requests waiver of the Rule 6004(h) requirement of 14-day

stay.

        WHEREFORE PREMISES CONSIDERED, Ron Satija, Trustee, prays that the

Court grant authority to sell the Property, and pay the reasonable and necessary cost of

closing including broker commission, pay the expenses and costs at closing, and for other

just relief.

                                               Respectfully submitted,

                                               /s/ Ron Satija
                                               Ron Satija, Trustee
                                               SBT 24039158
                                               PO Box 660208
                                               Austin, Texas 78766-7208
                                               Tel: (512) 900-8223
                                               Fax: (512) 900-8224
                                               Email: rsatija@satijatrustee.com


                               CERTIFICATE OF SERVICE
       The signature above certifies that a true and correct copy of the foregoing
document has been served, via a noticing service, by first class U.S. mail within two
business days of June 28, 2017, on those listed on the attached matrix. Any and all
exhibits have been filed with the court and are available upon request.
Albertelli Law                    American Express                   American Express Centurion Bank
PO Box 23028                      PO Box 297871                      c/o Becket and Lee LLP
Tampa, FL 33623-2028              Ft. Lauderdale, FL 33329-7871      PO Box 3001
                                                                     Malvern PA 19355-0701


BB&T Mortgage                     Discover Financial Services LLC    Internal Revenue Service
PO Box 3476                       PO Box 3025                        Centralized Insolv Ops
Greenville, SC 29602-3476         New Albany OH 43054-3025           PO Box 7346
                                                                     Philadelphia, PA 19101-7346


Internal Revenue Service          JPM Chase                          JPMorgan Chase Bank, N.A.
Stop 5022 AUS                     PO Box 24696                       c/o BDFTE, LLP
300 E 8th Street                  Columbus, OH 43224-0696            15000 Surveyor Blvd Ste 100
Austin TX 78701-3233                                                 Addison, TX 75001-4417


Morgan Stanley Mortgage Capital   Rausch, Sturm, Israel, Enerson &   Social Security Administration
Holdings                          Hornik                             PO Box 15528
1585 Broadway                     15660 N Dallas Pkwy Ste 350        Kansas City, MO 64106-0528
New York, NY 10036-8200           Dallas, TX 75248-3344


Specialized Loan Servicing, LLC   VYSTAR CREDIT UNION                Zwicker & Associates, P.C.
PO Box 636005                     PO BOX 45085                       80 Minuteman Road
Littleton, CO 80163-6005          JACKSONVILLE FL 32232-5085         Andover, MA 01810-1008



United States Trustee - AU12      Michael and Debra Humphreys        Michael J. Pledger
United States Trustee             511 Silver Creek Drive             901 Mopac Expwy S Ste 300
903 San Jacinto Blvd Ste 230      Leander, TX 78641-8567             Austin, TX 78746
Austin, TX 78701-2450


Ron Satija
PO Box 660208
Austin, TX 78766-7208
                                                      EXHIBIT "A"
                          PURCHASE AND SALE AGREEMENT AND DEPOSIT RECEIPT
                       COPYRIGHTED BY AND SUGGESTED FOR USE BY THE MEMBERS OF
                         THE NORTHEAST FLORIDA ASSOCIATION OF REALTORS®, INC.
 REALTOR®                                                                                                           REALTOR®

   Micah J Ray and Shannon L Ray (H&W)
 1 _________________________________________________________________________________________
 2 ___________________________________ (“BUYER/PURCHASER”) (if individual(s), name(s) as reflected on
 3 government-issued photo ID and marital status) and _______________________________________________
                                                           Ron Satija, BK Trustee for the Estate of Michael and Debra Humphreys.
   ___________________________
 4 ________________________________________________________________________(“SELLER”)
    MICHAEL E and DEBRA D HUMPHREYS                                                                                   (name(s)
 5 as reflected on deed or government-issued photo ID and marital status), which terms may be singular or plural
 6 and include the successors, personal representatives and assigns of BUYER and SELLER, hereby agree that
 7 SELLER will sell and BUYER will buy the following described property with all improvements (“the Property”),
 8 upon the following terms and conditions and as completed or marked. In any conflict of terms or conditions, that
 9 which is added will supersede that which is printed or marked.
10 PROPERTY DESCRIPTION:
                                      300 TALWOOD TRACE ST JOHNS FL 32259
11 (a) Street address, city, zip code:_______________________________________________________________
                                  ST JOHNS County, Florida. Property Tax ID No:_________________________
12 (b) The Property is located in ___________                                  2493000500
13 (c) Legal description of the Real Property (if lengthy, attach legal description):____________________________
   Legal: 38/1-7 JULINGTON CREEK PLANTATION PARCEL 30 LOT 50 OR1475/945
14 _________________________________________________________________________________________
15 _________________________________________________________________________________________
16   The Property will be conveyed by statutory general warranty deed, trustee’s, personal representative’s or
17   guardian’s deed as appropriate to the status of SELLER (unless otherwise required herein), subject to current
18   taxes, existing zoning, recorded restrictive covenants governing the Property, and easements of record which do
19   not adversely affect marketable title. Under Florida law, financing of the BUYER’s principal residence
20   requires BUYER and BUYER’s spouse to sign the mortgage(s). Under Florida law, the sale of a principal
21   residence requires SELLER’s spouse to sign the deed even if the spouse’s name is not on SELLER’s
22   present deed.

23 1.     PURCHASE PRICE to be paid by BUYER is payable as follows:
24          (A) Binder deposit paid herewith, which will remain a binder until closing
25              unless sooner disbursed according to the provisions of this Agreement                               0.00
                                                                                                    $ __________________
26                                        3
            (B) Binder deposit due within ______  days after date of acceptance of this                          ______
                                                                                                       3520.00   3,250.00
27              Agreement                                                                           $ __________________
28          (C) Additional binder deposit due on or before _____________________ or
29              ______________days after date of acceptance of this Agreement                                       0.00
                                                                                                    $ __________________
30          (D) Balance due at closing (not including BUYER’s closing costs, prepaid                               _______
                                                                                                                   13,000.00
31              items or prorations) by wire transfer or, if allowed by settlement agent,             14,080.00    ______
32              by cashier's or official check drawn on a United States banking institution                     14,250.00
                                                                                                    $ __________________
33          (E) Proceeds of a note and mortgage to be executed by BUYER to any
34              lender other than SELLER (base loan amount excluding FHA MIP,                           334,400.00________
35              funding fees or financed closing costs)                                                        308,750.00
                                                                                                    $ __________________
36          (F) Seller financing by note and mortgage executed by BUYER to SELLER
37              (requires use of Seller Financing Addendum)                                                         0.00
                                                                                                    $ __________________
                                                                                                      352,000.00________
38          (G) PURCHASE PRICE                                                                                 325,000.00
                                                                                                    $ __________________
39          Binder deposit(s) to be held by:
40          Name: _____________________________________________________________________________
                    Prominence Title & Escrow, LLC

41                    605 E. Robinson Street Suite #720 Orlando, FL 32801
            Address: ____________________________________________________________________________
42          Phone: _________________________________________Fax:_________________________________
                     407-545-4940

43                    marlene@prominencetitle.com
            E-mail:______________________________________________________________________________
44          Note: In the event of a dispute between BUYER and SELLER regarding entitlement to the binder
45          deposit(s) held by an attorney or title insurance agency, Broker’s resolution remedies referenced
46          in paragraph 12(A) hereof are not available.


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 47 2.    FINANCING INFORMATION: BUYER intends to finance this transaction as follows:
 48            cash transaction
 49            loan without financing contingency
 50        ✔ loan as marked below with financing contingency. Loan Approval is ✔ is not conditioned upon the
 51           closing of the sale of other real property owned by BUYER. If neither box is marked then Loan Approval
 52           is not conditioned upon the closing of the sale of other real property owned by BUYER.
 53       (A)      FHA: “It is expressly agreed that notwithstanding any other provisions of this contract, the
 54           PURCHASER shall not be obligated to complete the purchase of the Property described herein or to
 55           incur any penalty by forfeiture of earnest money deposits or otherwise unless the PURCHASER has
 56           been given in accordance with HUD/FHA or VA requirements a written statement by the Federal
 57           Housing Commissioner, Department of Veteran Affairs, or a Direct Endorsement Lender setting forth
 58           the appraised value of the Property of not less than $ _______________. The PURCHASER shall
 59           have the privilege and option of proceeding with consummation of this contract without regard to the
 60           amount of the appraised valuation. The appraised valuation is arrived at to determine the maximum
 61           mortgage the Department of Housing and Urban Development will insure. HUD does not warrant the
 62           value or the condition of the Property. The PURCHASER should satisfy himself/herself that the price
 63           and condition of the Property are acceptable.”
 64           If Purchase Price changes, the dollar amount referenced in line 58 should be changed to reflect
 65           the new Purchase Price.
 66       (B)     VA: It is expressly agreed that, notwithstanding any other provisions of this Agreement, the BUYER
 67           shall not incur penalty by forfeiture of earnest money or otherwise be obligated to complete the
 68           purchase of the Property described herein, if this Agreement purchase price or cost exceeds the
 69           reasonable value of the Property established by the Veterans Administration. The BUYER shall,
 70           however, have the privilege and option of proceeding with the consummation of this Agreement without
 71           regard to the amount of reasonable value established by the VA.
 72       (C) ✔ CONVENTIONAL OR USDA FINANCING: If BUYER’s financing is conventional or USDA, it is
 73           expressly agreed that, notwithstanding any other provision of this Agreement, BUYER shall not incur
 74           penalty by forfeiture of deposit(s) or otherwise be obligated to complete the purchase of the Property
 75           described herein if the purchase price exceeds the appraised value of the Property as established by
 76           the lender’s appraiser. BUYER shall, however, have the option of proceeding with the consummation
 77           of this Agreement without regard to the amount of said appraised value. This contingency shall expire
 78           5 days after expiration of the Loan Approval Period.
 79       (D)     OTHER FINANCING:           SELLER FINANCING           MORTGAGE ASSUMPTION. If marked, see
 80           applicable Addendum attached hereto and made a part hereof.
 81             APPLICATION: Within _____ 5    days (5 days if left blank) after date of acceptance of this Agreement,
 82             BUYER will complete the application process for mortgage loan(s) and pay lender for credit report(s).
 83             BUYER will timely furnish any and all credit, employment, financial, and other information required by
 84             lender, and make a continuing and diligent effort to obtain loan approval. BUYER will pay for the
 85             appraisal within 3 days after having provided lender with written notice of intent to proceed and
 86             will instruct the lender to order the appraisal within 3 days after time of such payment;
 87             otherwise, BUYER is in default. BUYER hereby authorizes BUYER’s lender to disclose information
 88             regarding the status, progress and conditions of loan application and loan approval to SELLER,
 89             SELLER’s attorney, Broker(s) to this transaction, and the closing attorney/settlement agent. BUYER
 90             and SELLER hereby further authorize BUYER’s lender and the closing attorney/settlement agent
 91             to provide a copy of the combined settlement statement and the BUYER and SELLER Closing
 92             Disclosures to Broker(s) to this transaction when provided to BUYER and SELLER, both before
 93             and at closing (consummation).
 94             Unless the mortgage loan is approved within _____     45 days (45 days if left blank) after date of
 95             acceptance of this Agreement, hereinafter called the Loan Approval Period, without contingencies
 96             other than lender-required repairs/replacements/treatments, marketable title and survey, BUYER shall
 97             have 5 days thereafter to terminate this Agreement by written notice to the SELLER, or be
 98             deemed to have waived the financing contingency. If BUYER does not terminate this Agreement
 99             within said 5 day period neither BUYER nor SELLER shall have a right to terminate this Agreement
100             under this paragraph, the binder deposit shall not be refundable because of BUYER’s failure to obtain
101             financing, and this Agreement shall continue through the date of closing.
102 3.    TITLE EXAMINATION AND DATE OF CLOSING (CONSUMMATION):
103       (A) If title evidence and survey, as specified below, show SELLER is vested with marketable title,
104           including legal access, the transaction will be closed and the deed and other closing papers delivered
105           on or before     ___ days (15 days if left blank) after the Loan Approval Period,   ________ (specific
106           date), or ✔ ____
                             45 days after date of acceptance of this Agreement, unless extended by other
107           conditions of this Agreement.

         PASA                                             Page 2 of 10                                          0815r3
108             Marketable title means title which a Florida title insurer will insure as marketable at its regular rates and
109             subject only to matters to be cured at closing and the usual exceptions such as survey, current taxes,
110             zoning ordinances, covenants, restrictions and easements of record which do not adversely affect
111             marketable title. From the date of acceptance of this Agreement through closing, SELLER will not take
112             or allow any action to be taken that alters or changes the status of title to the Property.
113       (B) Extension of Date of Closing: If closing cannot occur by the date of closing due to Consumer
114           Financial Protection Bureau (CFPB) delivery requirements, the date of closing shall be extended for the
115           period necessary to satisfy CFPB delivery requirements, not to exceed 10 days. If extreme weather, act
116           of God, act of terrorism or war ("force majeure") prevents any obligation under this Agreement from
117           being performed or causes the unavailability of insurance, all time periods, including the date of closing,
118           will be extended for the period of time that any of the above prevents performance of any obligation
119           under this Agreement, but in no event more than 5 days after restoration of services essential to the
120           closing process and availability of applicable insurance. If force majeure prevents performance of any
121           obligation under this Agreement for more than 30 days beyond the date of closing, BUYER or SELLER
122           may terminate this Agreement by delivering written notice to the other party.
123             If title evidence or survey reveals any defects which render the title unmarketable, or if the Property is
124             not in compliance with governmental regulations/permitting, BUYER or closing agent will have 5 days
125             from receipt of title commitment, survey or written evidence of any permitting/regulatory issue to notify
126             SELLER of such defects. SELLER agrees to use reasonable diligence to cure such defects at
127             SELLER's expense and will have 30 days to do so, in which event this transaction will be closed within
128             10 days after delivery to BUYER of evidence that such defects have been cured but not sooner than
129             the date of closing. SELLER agrees to pay for and discharge all due and delinquent taxes, liens and
130             other monetary encumbrances unless otherwise agreed in writing. If SELLER is unable to convey
131             marketable title, or to cure permitting/regulatory compliance issues, BUYER will have the right to
132             terminate this Agreement, or to accept the Property as SELLER is able to convey, and to close this
133             transaction upon the terms stated herein, which election will be exercised within 10 days after BUYER’s
134             receipt of SELLER’s written notice of SELLER’s inability to cure.
135 4.    TITLE EVIDENCE / MUNICIPAL LIEN SEARCH:
136       (A) TITLE EVIDENCE: At least _______10      days before date of closing (10 days if left blank), the party paying
137           for the title insurance shall cause the title agent to issue a title insurance commitment for an owner’s
138           policy in the amount of the Purchase Price and a title insurance commitment for a mortgage policy in the
139           amount of BUYER’s loan(s) if BUYER is financing the purchase. Any expense of curing title defects
140           such as, but not limited to, legal fees, discharge of liens and recording fees will be paid by SELLER.
141       (B) MUNICIPAL LIEN SEARCH: If a municipal lien search is required in this Agreement, at least
142           _________ days before date of closing (10 days if left blank), the party paying for this search shall
143           obtain and provide to the closing attorney/settlement agent a municipal lien search.
144 5.    SURVEY: At least ______days
                                 10        before date of closing (10 days if left blank), the party paying for the survey
145       shall cause to be delivered to the closing attorney/settlement agent (mark only one box): ✔ a new staked
146       survey of the Property dated within (3) months of date of closing showing all improvements, certified to
147       BUYER, SELLER, lender, and the title insurer in compliance with Florida law; or           a copy of a previously
148       made survey of the Property showing all existing improvements and sufficient to allow removal of the
149       survey exceptions from the title insurance commitment or, if insufficient, then a new staked survey is
150       required. No survey is required.        If a surveyor’s flood elevation certificate is required, BUYER
151       shall pay for it.
152 6.    CASUALTY LOSS OR DAMAGE: If the Property is damaged by any casualty prior to closing, SELLER
153       shall immediately notify BUYER in writing. If the cost of repair or restoration does not exceed 3% of the
154       Purchase Price, cost of restoration will be an obligation of SELLER and closing will proceed pursuant to the
155       terms of this Agreement. If the cost of repair or restoration exceeds 3% of the Purchase Price, BUYER may
156       terminate this Agreement by giving written notice to SELLER within 10 days after BUYER’s receipt of
157       written notice from SELLER of the casualty. If BUYER has not so terminated, SELLER shall have 30 days
158       from the end of said 10 day period to complete the repairs in accordance with the conditions required by
159       paragraph 14 and all applicable laws. Closing shall occur within 20 days thereafter but not sooner than the
160       date of closing as set forth in paragraph 3.
161       If BUYER has not terminated as above, and the cost of repair or restoration exceeds said 3% and SELLER
162       declines to pay the excess, then SELLER must notify BUYER in writing of same within 15 days after the
163       casualty. In this event, BUYER may either purchase the Property as is, together with any insurance
164       proceeds payable by virtue of such casualty (to be assigned by SELLER to BUYER upon closing) plus an
165       amount equal to SELLER’s deductible, or BUYER may terminate this Agreement. BUYER shall have 5
166       days after receipt of SELLER’s written notice of refusal to pay the excess costs to terminate this
167       Agreement, or be deemed to have elected to proceed with this transaction.
         PASA                                                Page 3 of 10                                             0815r3
168 7.    PRORATIONS: All taxes, rents, condominium and homeowners’ association fees, solid waste
169       collection/disposal fees, stormwater fees, and Community Development District (CDD) fees will be prorated
170       through day before closing based on the most recent information available to the closing
171       attorney/settlement agent, using the gross tax amount for estimated tax prorations. The day of closing shall
172       belong to BUYER. Any proration based on an estimate shall be reprorated at the request of either party
173       upon receipt of the actual bill based on the maximum discount available.
174       PROPERTY TAX DISCLOSURE SUMMARY: BUYER SHOULD NOT RELY UPON SELLER’S CURRENT
175       PROPERTY TAXES AS THE AMOUNT OF PROPERTY TAXES THAT THE BUYER MAY BE OBLIGATED
176       TO PAY IN THE YEAR SUBSEQUENT TO PURCHASE. A CHANGE OF OWNERSHIP OR PROPERTY
177       IMPROVEMENTS TRIGGERS REASSESSMENTS OF THE PROPERTY THAT COULD RESULT IN
178       HIGHER PROPERTY TAXES. IF YOU HAVE ANY QUESTIONS CONCERNING VALUATION, CONTACT
179       THE COUNTY PROPERTY APPRAISER’S OFFICE FOR INFORMATION.
180 8.    BUYER WILL PAY:
181       (A) CLOSING COSTS:
182       ✔ Recording fees                                One year home warranty __________________
183       ✔ Intangible tax                                VA funding fee
184       ✔ Note stamps                                   Mortgage insurance premium
185       ✔ Simultaneous mortgagee title insurance policy Mortgage discount not to exceed_____________
186       ✔ Title insurance endorsements                  Survey
187       ✔ Lender’s flood certification fees             Closing attorney/settlement fee
188       ✔ Mortgage origination charges                  BUYER’s courier fees
189       ✔ Appraisal fee                                 Title search
190       ✔ Credit report (s)                             Municipal lien search
191       ✔ Inspection and reinspection fees              Real estate brokerage fee $_________________
192       ✔ Tax service fee (FHA BUYER may pay)           Mortgage transfer and assumption charges
193       ✔ Wood-destroying organism report (VA BUYER may pay)
194          Other ____________________________________________________________________________
195       (B) All other charges required by lender(s) in connection with the BUYER’s loan(s), unless prohibited by
196           law or regulation, together with lender related settlement/title service fees.
197       (C) Condominium and homeowners’ association application/transfer fees, the cost of completion of a
198           lender’s condominium questionnaire fees, and capital contributions, if required.
199       (D) PREPAIDS: Prepaid hazard, flood and wind insurance, taxes, interest and mortgage insurance
200           premiums if required by the lender.
201 9. SELLER WILL PAY:
202    (A) CLOSING COSTS:
203       ✔ Deed stamps                                         One year home warranty ___________________
204       ✔ Owner’s title insurance policy                   ✔ Real estate brokerage fee(s)
205       ✔ Title search                                        Title insurance endorsements
206       ✔ Closing attorney/Settlement fee                     Lender’s flood certification fees
207       ✔ Survey                                              Mortgage discount not to exceed______________
208       ✔ Satisfaction of mortgage and recording fee          Appraisal fee
209       ✔ SELLER’s courier fees
210          Other _____________________________________________________________________________
211           __________________________________________________________________________________
212       (B) Condominium and homeowners’ association estoppel/statement fees, payable upon request by the
213           closing attorney/settlement agent.
214       (C) All other charges required by lender(s) in connection with the BUYER’s loan(s) which BUYER is
215           prohibited from paying by law or regulation.
216       (D) If SELLER agrees to pay any amount toward BUYER’s closing costs (which shall include BUYER’s
217           prepaids), SELLER shall be obligated to pay, upon closing, only those costs marked in paragraph
218           8(A) and those specified in paragraphs 8(B), 8(C) and 8(D). This amount will include all VA non-
219           allowables not specified to be paid by SELLER.
220       (E) All mortgage payments, condominium and homeowners association fees and assessments, CDD fees
221           and government special assessments due and payable shall be paid current at SELLER's expense at
222           the time of closing.
223       (F) Public Body Special Assessments. At closing, SELLER will pay: (i) the full amount of liens imposed by
224           a public body that are certified, confirmed and ratified before the date of closing not payable in
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225          installments; and (ii) the amount of the public body’s most recent estimate or assessment for an
226          improvement which is substantially completed as of date of acceptance of this Agreement but that has
227          not resulted in a lien being imposed on the Property before closing. “Public body” does not include a
228          condominium or homeowners’ association or CDD.
229          If public body special assessments may be paid in installments (MARK ONE)
230              BUYER shall pay installments due after date of closing.
231          ✔ SELLER will pay the assessment in full prior to or at the time of closing.
232          IF NEITHER BOX IS MARKED BUYER SHALL PAY INSTALLMENTS DUE AFTER THE DATE OF
233          CLOSING. This paragraph 9(F) shall not apply to liens imposed by a Community Development
234          District created by Florida Statute 190. The special benefit tax assessment imposed by a
235          Community Development District shall be treated as an ad valorem tax.
236 10. DEFAULT:
237    (A) If BUYER defaults under this Agreement, all binder deposit(s) paid and agreed to be paid (after
238        deduction of unpaid closing costs incurred except inspection fee(s), credit report and appraisal fees
239        which shall be BUYER’s sole responsibility), will be retained by SELLER as agreed upon liquidated
240        damages, consideration for the execution of this Agreement, and in full settlement of any claims.
241        BUYER and SELLER will then be relieved of all obligations to each other under this Agreement except
242        for BUYER’s responsibility for damages caused during inspections as described in paragraph 14.
243    (B) If SELLER defaults under this Agreement, BUYER may either: (i) seek specific performance; or (ii) elect
244        to receive the return of BUYER's binder deposit(s) without thereby waiving any action for damages
245        resulting from SELLER’s default.
246    (C) Binder deposit(s) retained by SELLER as liquidated damages will be distributed pursuant to the terms
247        of the listing agreement.
248 11. NON-DEFAULT PAYMENT OF EXPENSES:
249    (A) If BUYER fails to perform, but is not in default, all loan and sale processing and closing costs incurred,
250        whether the same were to be paid by BUYER or SELLER, will be the responsibility of BUYER with
251        costs deducted from the binder deposit(s), and the remainder of the binder deposit(s) shall be returned
252        to BUYER. This will include but not be limited to the transaction not closing because BUYER does not
253        obtain the required financing as provided in this Agreement or BUYER invokes BUYER’s right to
254        terminate under any contingency in this Agreement; however, if Buyer elects to terminate this
255        Agreement pursuant to paragraphs 2(A), 2(B), 2(C) or 14, each party will be responsible for all loan and
256        sale processing costs specified to be paid by that party, except all inspections, including WDO Report,
257        which shall be paid by BUYER.

258    (B) If SELLER fails to perform, but is not in default, all loan and sale processing and closing costs incurred,
259        whether the same were to be paid by BUYER or SELLER, will be the responsibility of SELLER, and
260        BUYER will be entitled to the return of the binder deposit(s). This will include the transaction not closing
261        because SELLER elects not to pay for the amount in excess of the amounts in paragraph 6 with
262        respect to casualty, loss or damage, or because SELLER cannot deliver marketable title, or is unable to
263        cure permitting/regulatory compliance issues, but shall not include failure to appraise or termination
264        pursuant to paragraph 14.
265 12. BINDER DISPUTE, WAIVER OF JURY TRIAL AND ATTORNEY FEES:
266    (A) In the event of a dispute between BUYER and SELLER as to entitlement to the binder deposit(s), the
267        holder of the binder deposit(s) may file an interpleader action in accordance with applicable law to
268        determine entitlement to the binder deposit(s), and the interpleader’s attorney’s fees and costs shall be
269        deducted and paid from the binder deposit(s) and assessed against the non-prevailing party, or the
270        broker holding the binder deposit(s) may request the issuance of an Escrow Disbursement Order from
271        the Florida Division of Real Estate. In either event, BUYER and SELLER agree to be bound thereby,
272        and shall indemnify and hold harmless the holder of the binder deposit(s) from all costs, attorney’s fees
273        and damages upon disbursement in accordance therewith.
274    (B) All controversies and claims between BUYER, SELLER or Broker, directly or indirectly, arising out of or
275        relating to this Agreement or this transaction will be determined by non-jury trial. BUYER, SELLER and
276        Broker, jointly and severally, knowingly, voluntarily and intentionally waive any and all rights to a trial by
277        jury in any litigation, action or proceeding involving BUYER, SELLER or Broker, whether arising directly
278        or indirectly from this Agreement or this transaction or relating thereto. Each party will be liable for their
279        own costs and attorney’s fees except for interpleader’s attorney’s fees and costs, which shall be
280        payable as set forth in paragraph 12(A).


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281 13. PROPERTY DISCLOSURE: SELLER does hereby represent that SELLER has the legal authority and
282     capacity to convey the Property, and that no other person or entity has an ownership interest in the Property.
283     SELLER represents that SELLER has no knowledge of facts materially affecting the value of the Property
284     other than those which BUYER can readily observe except: _____________________________________
285     _____________________________________________________________________________________
286     _____________________________________________________________________________________.
287     SELLER further represents that the Property is not now and will not be prior to the date of closing subject to
288     a municipal or county code enforcement proceeding and that no citation has been issued except:
289     _____________________________________________________________________________________
290     _____________________________________________________________________________________.
291      If the Property is or becomes subject to such a proceeding prior to the date of closing, SELLER shall
292     comply with Florida Statutes 125.69 and 162.06; notwithstanding anything contained within said Statutes,
293     SELLER shall be responsible for compliance with applicable code and all orders issued in such proceeding
294     unless otherwise agreed herein. SELLER has received no written or verbal notice from any governmental
295     entity as to uncorrected building, environmental or safety code violations, and SELLER has no knowledge
296     of any repairs or improvements made to the Property not then in compliance with governmental
297     regulations/permitting except:_____________________________________________________________
298     ____________________________________________________________________________________.
299      (A) Energy Efficiency: In accordance with Florida Statute 553.996, notice is hereby given that the BUYER
300          of real property with a building for occupancy located thereon may have the building's energy-efficiency
301          rating determined. BUYER acknowledges receipt of the Florida energy efficiency rating information
302          brochure prepared by the State of Florida at the time of or prior to BUYER signing this Agreement.
303      (B) Radon Gas Disclosure: Radon gas is a naturally occurring radioactive gas that, when it has
304          accumulated in a building in sufficient quantities, may present health risks to persons who are exposed
305          to it over time. Levels of radon that exceed federal and state guidelines have been found in buildings in
306          Florida. Additional information regarding radon testing may be obtained from your county health unit.
307      (C) Flood Zone: BUYER is advised to verify with the lender and appropriate government agencies whether
308          flood insurance is required and what restrictions apply to improving the Property and rebuilding in the
309          event of casualty.
310      (D) Community Development District: The Property may be in a Community Development District
311          (CDD). See BUYER’S Community Development District Acknowledgement for further information.
312      (E) Mold Disclosure: Mold is naturally occurring. The presence of mold in a home or building may cause
313          health problems and damage to the Property.
314      (F) Defective Drywall: The presence of Defective Drywall in a home may cause health problems and
315          damage to the Property.
316      (G) Airport Notice Zones: If the Property is in Noise Zones A, B and/or an Airport Notice Zone, BUYER
317          and SELLER agree to comply with the City of Jacksonville Ordinance Code Section 656.1010.
318      (H) Historic Districts: BUYER is advised to verify with appropriate government agencies whether the
319          Property is in an historic district; if so, the Property is subject to additional guidelines and restrictions.
320          See Historic District Disclosure for further information.
321      ( I ) Other: BUYER should exercise due diligence with respect to information regarding neighborhood
322            crimes, sexual offenders/predators and any other matters BUYER deems relevant to the purchase of the
323            Property.
324 14. MAINTENANCE, INSPECTION AND REPAIR: SELLER will maintain the Property in its present condition
325     until closing, except for normal wear and tear and any agreed upon repairs/replacements/treatments.
326     BUYER and SELLER agree that the cost of inspections and investigations requested by BUYER are exempt
327     from paragraph 11 of this Agreement and will be paid by BUYER regardless of the outcome of this
328     Agreement. If BUYER elects not to have inspections and investigations performed, or fails to make a timely
329     request for repairs/replacements/treatments as set forth in this paragraph 14, BUYER accepts the Property
330     in its “AS IS” condition as of the date of acceptance of this Agreement. BUYER will be responsible for repair
331     of all damages to the Property resulting from inspections and investigations, and BUYER will return the
332     Property to its pre-inspection condition. These obligations shall survive termination of this Agreement.
333      (A) Access and Utilities: SELLER will make the Property available for inspections and investigations during
334          the time provided for inspections and investigations in this paragraph and, if not, the time for inspections
335          and investigations will be extended by the time access was denied. If utilities are not active at the time
336          the inspections, investigations or appraisal are to be made, SELLER will pay to have the utilities
337          activated for these purposes.

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338          Within 10 days after the date of acceptance of this Agreement (“Inspection Period”), BUYER may have
339          the Property inspected and investigated by appropriately licensed inspectors or persons/entities holding
340          a Florida license to build, repair or maintain the items inspected. BUYER and BUYER’S Broker have the
341          right to be present during all inspections and investigations. The inspections and investigations include,
342          but are not limited to:
343          (1) testing and inspecting all major appliances, heating, cooling, mechanical, electrical and plumbing
344          systems, well and septic (including drain field systems), the roof, pool and pool equipment, defective
345          drywall, defective flooring, mold, drainage, radon gas and environmental and sinkhole conditions;
346          (2) inspecting for active infestation and/or damage from termites and other wood-destroying organisms;
347          and
348          (3) verifying the cost and availability of insurance, that condominium/homeowner’s association insurance
349          is satisfactory to BUYER’s lender, verifying square footage measurements, and reviewing applicable
350          zoning and historic classifications, covenants, restrictions, easements, rules, and other governing
351          documents affecting the Property.
352          If BUYER determines, in BUYER’s sole discretion, that the Property is not acceptable to BUYER,
353          BUYER may prior to the expiration of the Inspection Period:
354           terminate this Agreement by delivering written notice of such election to SELLER together with a
355             copy of all written reports, if any, of inspections and investigations if such reports are requested by
356             SELLER; (delivery of the NEFAR Release of Deposit and Cancellation of Purchase and Sale
357             Agreement is not sufficient as a written notice of termination) or
358           submit BUYER’s written request to SELLER for repairs/replacements/treatments, together with a copy
359             of all written reports, if any, of inspections and investigations. BUYER and SELLER shall have 7
360             days from SELLER’s receipt of such request within which to enter into a written agreement for
361             repairs/replacements/treatments. If BUYER and SELLER have not entered into such written
362             agreement within the 7 days, then BUYER may terminate this Agreement by giving written
363             notice of termination to SELLER within 3 days after the 7 days, or be deemed to have accepted
364             the Property without repairs/replacements/treatments except as may otherwise be provided in
365             this Agreement. BUYER'S request for repairs/replacements/treatments or written agreement
366             between BUYER and SELLER as to same shall not eliminate BUYER's right to terminate this
367             Agreement at any time within the Inspection Period.
368             If this Agreement is terminated as provided in this paragraph, BUYER and SELLER shall be released
369             from all further obligations under this Agreement except as otherwise provided in this paragraph 14.
370             Prior to the binder deposit(s) being delivered to BUYER, BUYER shall provide SELLER with paid
371             receipts for all investigations and inspections, if any.
372          BUYER shall be responsible for prompt payment for all of BUYER’s inspections and investigations.
373          BUYER agrees to indemnify and hold SELLER harmless from all losses, damages, claims, suits, and
374          costs which may arise out of any contract, agreement, or injury to any person or property as a result of
375          any activities of BUYER and BUYER’s agents and representatives relating to inspections and
376          investigations except for any losses, damages, claims, suits, or costs arising out of pre-existing
377          conditions of the Property or out of SELLER’s negligence, willful acts or omissions.
378          SELLER shall have any agreed upon repairs/replacements/treatments completed by appropriately
379          licensed persons within 10 days after entering into a written agreement for such with BUYER and receipt
380          by SELLER of written notice of BUYER’s loan approval, if applicable. SELLER shall notify BUYER in
381          writing upon completion of all agreed upon repairs/replacements/treatments and provide BUYER with
382          copies of all receipts for same at that time. BUYER may, within 3 days after receipt of SELLER’s written
383          notice and delivery of such receipts, reinspect the Property solely to verify that SELLER has completed
384          the agreed upon repairs/replacements/treatments. No other repair/replacement/treatment issues may be
385          raised as a result of this reinspection.
386          Walk-Through: Prior to closing, BUYER may walk through the Property solely to verify that SELLER has
387          maintained the Property in the condition required in this Agreement.
388    (B) Broker's Notice: Neither the Listing Broker nor Selling Broker warrants the condition, size or square
389        footage of the Property, and neither is liable to BUYER or SELLER in any manner whatsoever for any
390        losses, damages, claims, suits, and costs regarding same. BUYER and SELLER hereby release and
391        hold harmless said Brokers and their licensees from any losses, damages, claims, suits, and costs
392        arising out of or occurring with respect to the condition, size or square footage of the Property. Brokers
393        shall not be liable for the performance by any provider of services or products recommended by Brokers.
394        Such recommendations are made as a courtesy. BUYER and SELLER may select their own providers
395        of services or products.
396    (C) BUYER's Responsibility: Repairs, replacements and treatments to the Property after date of closing or
397        BUYER’s possession, whichever occurs first, will be BUYER's responsibility unless otherwise agreed in
398        writing.
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399 15. POSSESSION:
400     ✔ BUYER will be given possession at closing
401         BUYER will be given possession within ___ days after closing at no rental cost to SELLER or as
402     otherwise set forth in paragraph 17 hereof.
403     If neither box is marked then BUYER will be given possession at closing.
404     If possession is to be delivered before or after closing, the BUYER and SELLER shall execute a
405     separate possession agreement prepared by legal counsel at possessor’s expense at least 5 days before
406     closing on terms reasonably acceptable to BUYER and SELLER.
407     SELLER shall sweep the Property clean and remove all personal property not included in sale by time of
408     BUYER's possession.
409     ✔ SELLER represents that there are no parties in possession other than SELLER, or that any parties in
410     possession other than Seller shall vacate the Property before the date of closing.
411         BUYER understands that the Property is available for rent or rented and the tenant may continue in
412     possession following closing unless otherwise agreed in writing between the landlord and tenant. Within 5
413     days after date of acceptance of this Agreement, SELLER shall provide BUYER with a copy of all current
414     leases and rent rolls for the Property and deliver to BUYER originals of same at closing. At closing, all
415     tenant deposits will be transferred from SELLER to BUYER, and any leases shall be deemed to have been
416     assigned by SELLER to BUYER. This Agreement shall be deemed an assignment of any leases upon
417     closing, and the obligations thereunder assumed by BUYER.
418 16. PERSONAL PROPERTY: The following items, if owned by SELLER and existing on the Property on the
419     date of the initial offer, are included in the Purchase Price: range/oven, cooktop, dishwasher, disposal,
420     ceiling fans, intercom, audio/visual system wiring, solar panels, light fixtures and bulbs, smoke detector(s),
421     bathroom mirrors, drapery hardware, all window treatments, garage door opener and controls, security gate
422     and other access devices, mailbox and mailbox key, if applicable; fence, plants and shrubbery, as now
423     installed on the Property, and those additional items checked below (to which no value has been assigned).
424      ✔ Refrigerator(s)      Microwave Oven      Pool fence/barrier Mounted/installed speakers
425        Washer               Window/wall a/c     Pool Sweep         Water softener/treatment system
426        Dryer                Built-in Generator  Above Ground Pool  Storm shutters and panels
427      ✔ Gas logs           ✔ Wine cooler         Storage Shed       Spa or hot tub with heater
428        Trash Compactor
429        Other (specify):____________________________________________________________________
430      ___________________________________________________________________________________
431      ___________________________________________________________________________________

432      Items specifically excluded from this Agreement:
433      ___________________________________________________________________________________
434      ___________________________________________________________________________________
435      ___________________________________________________________________________________

436 17. ADDENDA/RIDERS/DISCLOSURES:
437     If marked the following are attached hereto and made a part of this Agreement:
438         Seller’s Property Disclosure
439         Condominium Rider
440     ✔ Homeowners’ Association/Community Disclosure Addendum
441         Lead-Based Paint Disclosure For Residential Sales Addendum (for pre-1978 homes)
442         Continued Marketing Addendum
443         Coastal Construction Control Line Disclosure Addendum
444     ✔ Short Sale Addendum
445         USDA Financing Addendum
446         For Your Protection: Get a Home Inspection (for FHA Financing)
447         Counter Offer Addendum (To accept a counter offer, BUYER and SELLER must sign both this Agreement
448     and the Counter Offer Addendum.)
449         Other (Specify here) _________________________________________________________________

450      ADDITIONAL TERMS AND CONDITIONS: ________________________________________________
451      ____________________________________________________________________________________
452      ____________________________________________________________________________________
453      ____________________________________________________________________________________
       PASA                                             Page 8 of 10                                           0815r3
454        ____________________________________________________________________________________
455        ____________________________________________________________________________________
456        ____________________________________________________________________________________
457        ____________________________________________________________________________________
458        ____________________________________________________________________________________
459        ____________________________________________________________________________________
460        ____________________________________________________________________________________
461 18. COMPLETE AGREEMENT AND MISCELLANEOUS PROVISIONS: BUYER and SELLER acknowledge
462     receipt of a copy of this Agreement. Except for brokerage agreements, BUYER, SELLER and Broker agree
463     that the terms of this Agreement constitute the entire agreement between them and that they have not
464     received or relied on any representations by Brokers or any material regarding the Property including, but
465     not limited to, listing information, that are not expressed in this Agreement. No prior or present agreements
466     or representations will bind BUYER, SELLER or Brokers unless incorporated into this Agreement.
467     Modifications of this Agreement will not be binding unless in writing, signed and delivered by the party to be
468     bound. This Agreement and any modifications to this Agreement may be signed in counterparts and may be
469     executed and/or transmitted by electronic media, including facsimile and email. Headings are for reference
470     only and shall not be deemed to control interpretations. If any provision of this Agreement is or becomes
471     invalid or unenforceable, all remaining provisions will continue to be fully effective. Neither this Agreement
472     nor any memorandum hereof will be recorded in any public records. For emphasis, some provisions have
473     been bolded and or capitalized, but every provision in this Agreement is significant and should be reviewed
474     and understood. No provision should be ignored or disregarded because it is not in bold or otherwise
475     emphasized in some manner.
476        In the performance of the terms and conditions of this Agreement each party will deal fairly and in good faith with
477        the other. Notice to the Broker for a party shall be deemed notice to that party. All assignable repair and treatment
478        contracts and warranties are deemed assigned by SELLER to BUYER at closing unless otherwise stated herein.
479        SELLER agrees to sign all documents necessary to accomplish same, at BUYER’s expense, if any.
480 19.    TIME IS OF THE ESSENCE IN THIS AGREEMENT. As used in this Agreement, “days” means calendar
481        days. Any time periods herein, other than the time of acceptance, which end on a Saturday, Sunday or
482        federal holiday shall extend to the next day which is not a Saturday, Sunday or federal holiday. All
483        references to a date other than the date of acceptance shall end at 7:00 p.m. Eastern Time (ET).
484 20. BUYER'S AND SELLER'S NOTICES: BUYER and SELLER represent that they have not entered into any
485     other agreements with real estate brokers other than those named below with regard to the Property.
486     BUYER and SELLER give the Brokers authorization to advise surrounding neighbors who will be the new
487     owner of the Property. "Broker", as used in this Agreement, is deemed to include all of Broker’s licensees
488     licensed to sell real property in the State of Florida.
489 21. ESCROW DISCLOSURE: BUYER and SELLER agree that Broker may place escrow funds in an interest
490     bearing account pursuant to the rules and regulations of the Florida Real Estate Commission and retain any
491     interest earned as the cost associated with maintenance of said escrow.
492 22. SOCIAL SECURITY OR TAX I.D. NUMBER: BUYER and SELLER agree to provide their respective Social
493     Security or Tax I.D. number to closing attorney/settlement agent upon request.
494 23. 1031 EXCHANGE: BUYER or SELLER may elect to effect a tax-deferred exchange under Internal
495     Revenue Service Code Section 1031(which shall not delay the closing), in which event BUYER and
496     SELLER agree to sign documents required to effect the exchange, provided the non-exchanging party shall
497     not incur any costs, fees or liability as a result of or in connection with the exchange.
498 24. PAYOFF AUTHORIZATION: SELLER hereby authorizes the closing attorney/settlement agent to obtain
499     mortgage payoff letters (including from foreclosure attorneys) and homeowner’s and condominium
500     association status letters on behalf of SELLER.
501 25. FIRPTA TAX WITHHOLDING: If any SELLER is a “foreign person” as defined by the Foreign Investment in
502     Real Property Tax Act, the BUYER and SELLER shall comply with the Act, which may require SELLER to
503     provide additional funds at closing. SELLER agrees to disclose to the closing attorney/settlement
504     agent at least 10 days before closing if any SELLER is not a U.S. citizen or resident alien.
505 26. TIME OF ACCEPTANCE: IF THIS OFFER IS NOT SIGNED BY BUYER AND SELLER AND DELIVERED
506     TO BUYER AND SELLER OR THEIR RESPECTIVE BROKER (INCLUDING BY FAX AND
507     ELECTRONICALLY) ON OR BEFORE ____:01
                                        8        A.M. ✔ P.M. __________
                                                             1/24/17    (DATE), THIS OFFER WILL
508     TERMINATE. THE TIME FOR ACCEPTANCE OF ANY COUNTER OFFER SHALL BE _________HOURS
509     (24 HOURS IF LEFT BLANK) FROM THE TIME THE COUNTER OFFER IS DELIVERED.
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510 27. DATE OF ACCEPTANCE: The date of acceptance of this Agreement shall be the date on which this
511     Agreement is last executed by BUYER and SELLER and a fully executed copy has been delivered to
512     BUYER and SELLER.
513       If this Agreement is not understood, BUYER and SELLER should seek competent legal advice.
514     WIRE FRAUD ALERT. Criminals are hacking email accounts of real estate agents, title companies,
515     settlement attorneys and others, resulting in fraudulent wire instructions being used to divert funds to
516     the account of the criminal. The emails look legitimate but they are not. Buyer and Seller are advised
517     not to wire any funds without personally speaking with the intended recipient of the wire to confirm
518     the routing number and the account number. Buyer and Seller should not send personal information
519     such as social security numbers, bank account numbers and credit card numbers except through
520     secured email or personal delivery to the intended recipient.
521 ____________________________           _____________
                                            01/24/17          ____________________________ ____________                2/15/17
522 BUYER                                  DATE               SELLER                                                DATE
                                                               Ron Satija, in his sole capacity as Chapter 7 Trustee for the Bankruptcy
                                                                Estate of Michael and Debra Humphreys, Case No. 16-10158
523 ____________________________           _____________
                                            01/24/17          ____________________________ ____________
524 BUYER                                  DATE               SELLER                       DATE
525 ____________________________           _____________      ____________________________ ____________
526 BUYER                                  DATE               SELLER                       DATE
527 ____________________________           _____________      ____________________________ ____________
528 BUYER                                  DATE               SELLER                       DATE
529                                                          Mark if any SELLER is not a U.S. Citizen or resident alien.

530   Broker, by signature below, acknowledges receipt of $ _____________________             cash     check as the
531   binder deposit specified in paragraph 1(A) of this Agreement. It will be deposited and held in escrow pending
532   disbursement according to the terms hereof, together with any additional binder deposit(s) escrowed by the
533   terms of this Agreement.
534 ___________________________________            _____________________________                    ____________________
535 Company                                        By                                               Title
                                      END OF PURCHASE AND SALE AGREEMENT
536 Broker joins in this Agreement to evidence Broker's consent to be bound by the provisions of paragraph
537 12 above.
    CROSSVIEW REALTY
538 __________________________________________             _________________________________________
539 Firm Name of Selling Broker                            Firm Name of Listing Broker
    BK3049644
540 __________________________________________             _________________________________________
541 Broker’s State License ID (BK Real Estate Number)      Broker’s State License ID (BK Real Estate Number)
    904-503-0672
542 __________________________________________             _________________________________________
543 Phone for Selling Broker                               Phone for Listing Broker
    12627 SAN JOSE BLVD
544 __________________________________________            _________________________________________
545 Selling Broker Office Address                         Listing Broker Office Address
    JACKSONVILLE FL 32223
546 __________________________________________            _________________________________________
547 Selling Broker City, State, Zip Code                  Listing Broker City, State, Zip Code
548 By:_______________________________________                  By: ______________________________________
549    Authorized Licensee Signature                                Authorized Licensee Signature
550    CHRIS HONE
       ______________________________________                         ______________________________________
551    Printed Name of Licensee                                       Printed Name of Licensee
552    CHRIS@CROSSVIEWREALTY.COM
       ______________________________________                         ______________________________________
553    Email Address                                                  Email Address
554     904-536-8685
       ______________________________________                         ______________________________________
555    Phone for Selling Licensee                                     Phone for Listing Licensee
556     BK3049644
       ______________________________________                         ______________________________________
557    Licensee’s State License ID                                    Licensee’s State License ID
558    (BK or SL Real Estate Number)                                  (BK or SL Real Estate Number)




        PASA                                           Page 10 of 10                                                            0815r3
                                SHORT SALE ADDENDUM
                  COPYRIGHTED BY AND SUGGESTED FOR USE BY THE MEMBERS OF THE
                       NORTHEAST FLORIDA ASSOCIATION OF REALTORS®, INC.


This Addendum is made by the undersigned BUYER and SELLER and is incorporated into and made a part of
the Purchase and Sale Agreement and Deposit Receipt (“the Agreement”) between BUYER and SELLER.
Where this Addendum is in conflict with the terms of the Agreement, the terms contained in this Addendum will
govern. This Addendum is referenced in the Agreement and pertains to the following Property:
300 TALWOOD TRACE ST JOHNS FL 32259
________________________________________________________________________________________
_______________________________________________________________________________________.

This transaction is referred to as a Short Sale because the Purchase Price is less than or “short” of the
amount(s) owed for SELLER’s closing costs and prorated items and to pay off encumbrance holders.

1. SELLER represents that the Purchase Price may be less than the amounts owed for SELLER’s closing
   costs and to holders of outstanding mortgages and other liens affecting the Property (“encumbrance
   holders”). SELLER’s obligation to close the sale of the Property is contingent on the agreement of
   SELLER’s encumbrance holders and/or court consent to:

   (a) accept a payoff which is less than the balance due under the encumbrances;

   (b) accept the closing disclosure or settlement statement; and

   (c) furnish a recordable satisfaction or release of the encumbrances.

   NOTICE: IN A SHORT SALE TRANSACTION, SELLER MAY HAVE A CONTINUING FINANCIAL
   OBLIGATION TO SELLER’S ENCUMBRANCE HOLDERS AFTER CLOSING INCLUDING, BUT NOT
   LIMITED TO, EXECUTION OF A PROMISSORY NOTE IN FAVOR OF THE ENCUMBRANCE
   HOLDER(S) OR LIABILITY FOR A DEFICIENCY JUDGMENT. SELLER IS ADVISED TO SEEK
   COMPETENT LEGAL AND FINANCIAL ADVICE CONCERNING SELLER’S LEGAL, TAX AND
   FINANCIAL OBLIGATIONS.

   THE FACT THAT THIS SHORT SALE MAY BE CONSIDERED OR APPROVED BY ENCUMBRANCE
   HOLDERS DOES NOT AUTOMATICALLY IMPLY OR MEAN THAT ANY FORECLOSURE PROCESS
   HAS BEEN SUSPENDED OR DELAYED.

2. SELLER shall, within 5 days from the date of the Agreement, initiate the process to have this short sale
   approved by all encumbrance holders and request in writing a delay of the foreclosure sale date if the
   foreclosure sale date is scheduled to take place before the date of closing. SELLER shall provide all
   information and documentation required by the encumbrance holders within 5 days after receiving the
   request(s).

                                                                                      120
3. If this short sale is not approved in writing by all encumbrance holders within ________ days (60 days if left
   blank) from the date of the Agreement (“Approval Deadline”), either BUYER or SELLER may terminate the
   Agreement by giving written notice to the other.

   If neither BUYER nor SELLER has delivered such termination notice within 5 days after the Approval
   Deadline, the Approval Deadline is extended one time only for 30 days. Any further extension must be by
   written agreement between BUYER and SELLER.

   BUYER and SELLER agree to cooperate in good faith without delay to achieve approval. SELLER shall
   deliver to BUYER a copy of the encumbrance holder(s)’ approval or denial letter(s) within 2 days after
SSA                                               Page 1 of 3                                             0815r
                     SHORT SALE ADDENDUM continued
   receipt by SELLER. Short sale approval means that all encumbrance holders shall agree to reduce their
   respective payoff amount(s) by an amount sufficient to permit the proceeds from the sale of the Property to
   pay the encumbrances and SELLER’s closing costs and prorated items.

4. SELLER hereby authorizes and directs the following parties to freely communicate and share information
   with each other regarding the current status of the SELLER’s application for short sale and of the approval
   or denial of same: encumbrance holders, Brokers to this transaction, closing attorney/settlement agent and
   short sale facilitators.

5. BUYER acknowledges that SELLER’s encumbrance holders are not parties to the Agreement and are
   not obligated to consider or approve the Agreement within any specified time period. BUYER further
   acknowledges that SELLER and Brokers are not liable for encumbrance holders’ delays, failure to approve
   this short sale or failure to complete this short sale after approving the Agreement.

6. Notwithstanding paragraph 11(B) of the Agreement, if this transaction does not close because the
   encumbrance holders do not approve this short sale, SELLER is not responsible for BUYER‘s loan and
   sale processing and closing costs incurred.

7. The date of acceptance of the Agreement shall be the date on which the Agreement is last executed by
   BUYER and SELLER and the fact of execution is communicated to the other party in writing (not the date
   of encumbrance holders’ approval).

8. Time Periods: (Check one)

      (a) ✔ Except for Approval Deadline and payment of binder deposit(s), all time periods for
      inspections, contingencies, loan application and loan approval shall begin from the date BUYER receives
      a copy of approval letters from all encumbrance holder(s). The date of closing shall be on or before
         45
      ______days    (45 days if left blank) after approval by the encumbrance holder(s) unless extended
      by other conditions of the Agreement.

      (b) All time periods under the Agreement shall begin from the date of acceptance of the Agreement by
      BUYER and SELLER.

      If neither box 8(a) nor 8(b) is marked, then 8(a) shall apply.

9. All prorations shall be final at closing.

10. After BUYER's offer has been accepted by SELLER, SELLER may:

      (a) ✔ continue to market the Property as active contingent in the Northeast Florida Multiple Listing
      Service, Inc. ("NEFMLS"); or

      (b)    not continue to market the Property as active contingent in the NEFMLS.

   Regardless of which of the above is marked, SELLER has the right to accept other offers as back-up
   agreements.

   If SELLER receives subsequent written offer(s) to purchase the Property, whether accepted or not, which
   SELLER intends to submit to encumbrance holders, SELLER must deliver to BUYER written notice of
   SELLER's intention within 24 hours after receipt of such other written offer(s) (the "Notice"). BUYER will
   have 5 days after delivery of the Notice to terminate the Agreement. If BUYER elects to terminate the
   Agreement, BUYER must notify SELLER of BUYER's election in writing within the 5 day period.



SSA                                                 Page 2 of 3                                       0815r
                    SHORT SALE ADDENDUM continued
11. Unless otherwise directed in writing by SELLER's encumbrance holder(s), SELLER has an obligation to
    inform them in writing of all subsequent higher written offers, whether accepted or not, until SELLER has
    received written approval by encumbrance holder(s) of this short sale.

   SELLER acknowledges that failure to inform SELLER's encumbrance holder(s) in writing of all subsequent
   higher written offers prior to receipt of written approval by SELLER's encumbrance holder(s) of this short
   sale may be construed as mortgage fraud. THIS PARAGRAPH SHOULD NOT BE DELETED OR
   MODIFIED.




___________________________           ___________
                                       01/24/17         ____________________________                                     2/15/17
                                                                                                                       ___________
BUYER                                 DATE              SELLER                                                         DATE
                                                         Ron Satija, in his sole capacity as Chapter 7 Trustee for the Bankruptcy
                                                         Estate of Michael and Debra Humphreys, Case No. 16-10158


___________________________            01/24/17
                                      ___________       ____________________________                                   ___________
BUYER                                 DATE              SELLER                                                         DATE


___________________________           ___________       ____________________________                                   ___________
BUYER                                 DATE              SELLER                                                         DATE


___________________________           ___________       ____________________________                                   ___________
BUYER                                 DATE              SELLER                                                         DATE




SSA                                               Page 3 of 3                                                                0815r
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                      &%$K      407-545-4940

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    Ron Satija, in his sole capacity as Chapter 7 Trustee
                                                                 Shannon Ray
    for the Bankruptcy Estate of Michael and Debra
    Humphreys, Case No. 16-10158                                 
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                                                                  Micah Ray

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                                                                 Buyer
                HOMEOWNERS’ ASSOCIATION/COMMUNITY
                      DISCLOSURE ADDENDUM

THIS ADDENDUM IS MADE BY THE UNDERSIGNED BUYER AND SELLER AND IS INCORPORATED INTO AND MADE A
PART OF THE PURCHASE AND SALE AGREEMENT AND DEPOSIT RECEIPT BETWEEN BUYER AND SELLER (THE
“AGREEMENT”). THIS ADDENDUM IS REFERENCED IN THE AGREEMENT AND PERTAINS TO THE FOLLOWING
PROPERTY: __________________________________________________________________________
           300 TALWOOD TRCE ST JOHNS FL 32259
__________________________________________________________________________________.
IF THE DISCLOSURE SUMMARY REQUIRED BY SECTION 720.401, FLORIDA STATUTES, HAS NOT BEEN PROVIDED
TO THE PROSPECTIVE BUYER BEFORE EXECUTING THIS CONTRACT FOR SALE, THIS CONTRACT IS VOIDABLE BY
BUYER BY DELIVERING TO SELLER OR SELLER’S AGENT OR REPRESENTATIVE WRITTEN NOTICE OF THE
BUYER’S INTENTION TO CANCEL WITHIN 3 DAYS AFTER RECEIPT OF THE DISCLOSURE SUMMARY OR PRIOR TO
CLOSING, WHICHEVER OCCURS FIRST. ANY PURPORTED WAIVER OF THIS VOIDABILITY RIGHT HAS NO EFFECT.
BUYER’S RIGHT TO VOID THIS CONTRACT SHALL TERMINATE AT CLOSING.
                                    JULINGTON CREEK PLANTATION "THE MEADOWS"
DISCLOSURE SUMMARY FOR _________________________________________________________________________
                                               (NAME OF COMMUNITY)
1.    AS A PURCHASER OF PROPERTY IN THIS COMMUNITY, YOU WILL BE OBLIGATED TO BE A MEMBER OF A
      HOMEOWNER’S ASSOCIATION.
2.     THERE HAVE BEEN OR WILL BE RECORDED RESTRICTIVE COVENANTS GOVERNING THE USE AND
       OCCUPANCY OF PROPERTIES IN THIS COMMUNITY.
3.     YOU WILL BE OBLIGATED TO PAY ASSESSMENTS TO THE ASSOCIATION. ASSESSMENTS MAY BE SUBJECT
                                                                     380              YEAR
       TO PERIODIC CHANGE. IF APPLICABLE, THE CURRENT AMOUNT IS $_______________PER__________YOU
       WILL ALSO BE OBLIGATED TO PAY SPECIAL ASSESSMENTS IMPOSED BY THE ASSOCIATION. SUCH
       ASSESSMENTS MAY BE SUBJECT TO CHANGE. IF APPLICABLE, THE CURRENT AMOUNT IS $ ___________
       PER _______________.
4.     YOU MAY BE OBLIGATED TO PAY A CAPITAL CONTRIBUTION TO THE HOMEOWNERS’ ASSOCIATION. IF
       APPLICABLE, THE CURRENT AMOUNT IS $______________.
5.     YOU MAY BE OBLIGATED TO PAY SPECIAL ASSESSMENTS TO THE RESPECTIVE MUNICIPALITY, COUNTY,
       OR SPECIAL DISTRICT. ALL ASSESSMENTS ARE SUBJECT TO PERIODIC CHANGE.
6.     YOUR FAILURE TO PAY SPECIAL ASSESSMENTS OR ASSESSMENTS LEVIED BY A MANDATORY
       HOMEOWNERS’ ASSOCIATION COULD RESULT IN A LIEN ON YOUR PROPERTY.
7.     THERE MAY BE AN OBLIGATION TO PAY RENT OR LAND USE FEES FOR RECREATIONAL OR OTHER
       COMMONLY USED FACILITIES AS AN OBLIGATION OF MEMBERSHIP IN THE HOMEOWNERS’ ASSOCIATION.
       IF APPLICABLE, THE CURRENT AMOUNT IS $ _______________ PER ____________________________. (THIS
       PARAGRAPH IS NOT FOR COMMUNITY DEVELOPMENT DISTRICT FEES OR REGULAR ASSOCIATION FEES.)
8.     THE DEVELOPER MAY HAVE A RIGHT TO AMEND THE RESTRICTIVE COVENANTS WITHOUT THE APPROVAL
       OF THE ASSOCIATION MEMBERSHIP OR THE APPROVAL OF THE PARCEL OWNERS.
9.     THE STATEMENTS CONTAINED IN THIS DISCLOSURE FORM ARE ONLY SUMMARY IN NATURE, AND, AS A
       PROSPECTIVE PURCHASER, YOU SHOULD REFER TO THE COVENANTS AND THE ASSOCIATION
       GOVERNING DOCUMENTS BEFORE PURCHASING PROPERTY.
10.    THESE DOCUMENTS ARE EITHER MATTERS OF PUBLIC RECORD AND CAN BE OBTAINED FROM THE
       RECORD OFFICE IN THE COUNTY WHERE THE PROPERTY IS LOCATED, OR ARE NOT RECORDED AND CAN
       BE OBTAINED FROM THE DEVELOPER.
BUYERS BY THEIR SIGNATURE BELOW ACKNOWLEDGE RECEIPT OF THIS SUMMARY BEFORE SIGNING A
PURCHASE AND SALE AGREEMENT AND DEPOSIT RECEIPT.

_____________________________    01/24/17
                                _____________      ____________________________                       2/15/17
                                                                                                     _____________
BUYER                           DATE               SELLER                                            DATE
                                                  Ron Satija, in his sole capacity as Chapter 7 Trustee for the Bankruptcy
                                                  Estate of Michael and Debra Humphreys, Case No. 16-10158
_____________________________    01/24/17
                                _____________      ____________________________                      _____________
BUYER                           DATE               SELLER                                            DATE

_____________________________   _____________      ____________________________                      _____________
BUYER                           DATE               SELLER                                            DATE

_____________________________   _____________      ____________________________                      _____________
BUYER                           DATE               SELLER                                            DATE


HADA                                                                                                                 0815
                         COMMUNITY DEVELOPMENT
                        DISTRICT ACKNOWLEDGEMENT
                  COPYRIGHTED BY AND SUGGESTED FOR USE BY THE MEMBERS
                  OF THE NORTHEAST FLORIDA ASSOCIATION OF REALTORS®, INC




       Micah J Ray and Shannon L Ray (H&W)
BUYER: _________________________________________________________________________


                  300 TALWOOD TRACE ST JOHNS FL 32259
PROPERTY ADDRESS: ________________________________________________ (the “Property”)


        COMMUNITY DEVELOPMENT DISTRICT TAXES, FEES AND ASSESSMENTS

BUYER acknowledges that the Property is a part of a Community Development District (“CDD”)
created pursuant to Chapter 190, Florida Statutes. By acceptance of the deed conveying the
Property, BUYER will be obligated to pay all taxes, fees and assessments imposed by the CDD.


     JULINGTON CREEK PLANTATION
THE ________________________________________________________________ COMMUNITY
DEVELOPMENT DISTRICT IMPOSES TAXES OR ASSESSMENTS, OR BOTH TAXES AND
ASSESSMENTS, ON THIS PROPERTY THROUGH A SPECIAL TAXING DISTRICT. THESE
TAXES AND ASSESSMENTS PAY THE CONSTRUCTION, OPERATION, AND MAINTENANCE
COSTS OF CERTAIN PUBLIC FACILITIES AND SERVICES OF THE DISTRICT AND ARE SET
ANNUALLY BY THE GOVERNING BOARD OF THE DISTRICT. THESE DISTRICT TAXES AND
ASSESSMENTS ARE IN ADDITION TO COUNTY AND OTHER LOCAL GOVERNMENTAL TAXES
AND ASSESSMENTS AND ALL OTHER TAXES AND ASSESSMENTS PROVIDED FOR BY LAW
AND HOMEOWNER’S OR CONDOMINIUM ASSOCIATION ASSESSMENTS AND FEES.

CDD FEES ARE PAID IN ADVANCE, NOT IN ARREARS, AND WILL BE PRORATED AT
CLOSING.

                                                                 01/24/17
______________________________________________________          ______________________
BUYER                                                           DATE
                                                                  01/24/17
______________________________________________________          ______________________
BUYER                                                           DATE

______________________________________________________          ______________________
BUYER                                                           DATE

______________________________________________________          ______________________
BUYER                                                           DATE




CDDA                                                                                   0815
January 23, 2017

Shannon Lynn Ray
Micah Ray
5244 Julington Creek Road
Jacksonville, FL 32258


SUBJECT: Loan Evaluation


Based upon the income and asset information you provided with your application along with
a preliminary review of a credit report, this letter is a confirmation of your preapproval for a
mortgage loan based on the following terms:




Sales Price: $325,000
30 year Conventional Fixed rate mortgage

This preliminary loan approval is subject to an Underwriter’s final review of a credit report, all
required employment and deposit verifications, a satisfactory property appraisal, preliminary
title report and any documentation that the lender reserves a right to request.

We appreciate the opportunity to assist you with this transaction.

If you may have any questions regarding this letter or loan status, please feel free to call me at
my office at (904) 269-5992.


Sincerely,

Billi West

#306348
Branch Manager
                                             AMENDMENT
                      COPYRIGHTED BY AND SUGGESTED FOR USE BY THE MEMBERS
                      OF THE NORTHEAST FLORIDA ASSOCIATION OF REALTORS®, INC.
REALTOR®                                                                                        REALTOR®

This Amendment is made by and between ________________________________________________________
                                      MICAH J AND SHANNON L RAY
           RON SATIJA BK TRUSTEE FOR THE ESTATE OF MICHAEL AND DEBRA HUMPHRIES
(BUYER) and_______________________________________________________________________________
                                                                                                02/15/17
(SELLER), who are parties to that certain Purchase and Sale Agreement and Deposit Receipt dated ________for
the following property: 300 TALWOOD TRACE ST JOHNS FL 32259
                         _______________________________________________________________________
_________________________________________________________(the “Agreement”). For good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, BUYER and SELLER agree to
amend the Agreement as follows: _______________________________________________________________
PURCHASE PRICE IS 355,000.00
__________________________________________________________________________________________
CLOSING IN 60 DAYS OR LESS
__________________________________________________________________________________________
__________________________________________________________________________________________
__________________________________________________________________________________________
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Except as modified by this Amendment, the Agreement shall remain unchanged and in full force and effect. In any
conflict of terms between this Amendment and the Agreement, the terms of this Amendment shall govern.


___________________________          04/04/2017
                                    _____________        ____________________________         4/5/17
                                                                                             _____________
BUYER                               DATE                 SELLER                              DATE


___________________________          04/05/17
                                    _____________        ____________________________        _____________
BUYER                               DATE                 SELLER                              DATE


___________________________         _____________        ____________________________        _____________
BUYER                               DATE                 SELLER                              DATE


___________________________         _____________        ____________________________        _____________
BUYER                               DATE                 SELLER                              DATE




AMENDMENT
                                                               EXHIBIT "B"

American Land Title Association                                                                       ALTA Settlement Statement - Combined
                                                                                                                        Adopted 05-01-2015



FileNo./Escrow No.: 17-071                                Prominence Title & Escrow, LLC
Print Date & Time: 6/27/2017 @ 2:09 PM
Officer/Escrow Officer: Marlene Benner                     605 E. Robinson Street #720
Settlement Location:                                         Orlando, Florida 32801
605 E. Robinson Street #720
Orlando, Florida 32801



Property Address: 300 Talwood Trace, St. Johns, Florida 32259
Buyer: Micah J. Ray Shannon L. Ray
Seller: Ron Satija, as Bankruptcy Trustee for the Estate of Michael E. Humphreys and Debra D. Humphreys, under Case No. 16-10158-
tmd, U.S. Bankruptcy Court, Western District of Texas (Austin)
Lender: Network Funding Residential Mortgage Lender
Loan Type: FHA Settlement

Settlement Date: 7/31/2017
Disbursement Date: / /
Additional dates per state requirements:



                Seller                                              Description                                   Borrower/Buyer
      Debit               Credit                                                                                Debit        Credit
                                     Financial
                         $355,000.00 Sales Price of Property                                                  $355,000.00
                                     Deposit including earnest money                                                              $3,520.00
                                     Loan Amount                                                                                $334,400.00
                                     Title - Insurance Seller Credit                                                              $1,850.00
       $1,850.00                     Title - Insurance Seller Credit

                                      Prorations/Adjustments
                              $159.40 Non-Ad Valorem from 7/31/2017 to 9/30/2017                                   $159.40
                              $177.21 HOA Dues from 7/31/2017 to 12/31/2017                                        $177.21
       $2,424.81                      County Taxes from 1/1/2017 to 7/30/2017                                                      $2,424.81

                                         Other Loan Charges
         $500.00                         Survey Fee-Seller Pays per Contract to TBD

                                         Title Charges & Escrow / Settlement Charges
                                         Title - Endorsement 5.1 to Prominence Title & Escrow, LLC                  $35.00
                                         Title - Endorsement 8.1 to Prominence Title & Escrow, LLC                  $35.00
                                         Title - Endorsement FL Form 9 to Prominence Title & Escrow, LLC           $210.00
                                         Title - Lender's Coverage Premium to Prominence Title & Escrow,
                                                                                                                 $1,747.00
                                         LLC
       $1,750.00                         Title - Settlement Fee to Prominence Title & Escrow, LLC                  $600.00
          $60.00                         Title - Title Search Fee to Westcor Land Title Insurance Company
                                         Title - Owner's Coverage Premium to Prominence Title & Escrow,
                                                                                                                   $353.00
                                         LLC

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American Land Title Association                                                                           ALTA Settlement Statement - Combined
                                                                                                                            Adopted 05-01-2015



                                         Commission
       $7,100.00                         Real Estate Commission (Buyer) to Crossview Realty
       $7,100.00                         Real Estate Commission (Seller) to Core Realty LLC
       $7,100.00                         Real Estate Commission Court Ordered to BK Global

                                         Government Recording & Transfer Charges
                                         Recording Fees to Simplifile                                                  $224.00
                                         Cert Copies of Order to Sell to Prominence Title & Escrow, LLC                 $25.00
                                         E-Record Court Order to Sell to Simplifile                                     $95.00
       $2,485.00                         Transfer Taxes - Deed State to Simplifile
                                         Transfer Taxes - Intangible Tax to Simplifile                                $668.80
                                         Transfer Taxes - Mortgage State to Simplifile                               $1,170.40

                                         Payoff(s)
    $229,688.95                          Lender: FCI Lender Services, Inc
                                              Principal Balance ($229,688.95)
                                                    Interest on Payoff Loan ()
     $71,715.16                          Lender: Chase
                                              Principal Balance ($71,715.16)
                                                    Interest on Payoff Loan ()

                                         Miscellaneous
                                         2016 Real Property Taxes PAID 11/13/16 to St. Johns County (POC
                                         by Seller: $4,927.68)
                                         Bankruptcy Estate Fee to Ron Satija, Bk Trustee for the Estate of
     $20,837.47
                                         Michael & Debra Humphreys
                                         E-Recording Fee to Simplifile                                                  $14.50
         $750.00                         Estoppel Fee to Elite Property Research
                                         Estoppel Preparation Fee for HOA to Julington Creek Plantation
         $100.00
                                         Property Owners Assn, Inc
                                         HOA Transfer Fee to Micah J. Ray, Shannon L. Ray                               $75.00
                                         Mobile Notary Fee to Signature Closers Network                                $135.00
        $179.00                          Municipal Lien Certificate Fee to Elite Property Research
       $1,696.22                         PAST DUE HOA to Ansbacher Law

                Seller                                              Description                                        Borrower/Buyer
     Debit              Credit                                                                                      Debit            Credit
  $355,336.61         $355,336.61                                   Subtotals                                    $360,724.31     $342,194.81
                                                                Due From Borrower                                         $18,529.50
                                                                 Due From Seller




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Acknowledgement
We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction and further certify that I have received a copy of the ALTA Settlement
Statement. We/I authorize Prominence Title & Escrow, LLC to cause the funds to be disbursed in accordance with this statement.




Borrower:        _____________________________________________ Seller:           _____________________________________________
                 Micah J. Ray                                                    Ron Satija, Bk Trustee for the Estate of Michael &
                                                                                 Debra Humphreys

Borrower:        _____________________________________________
                 Shannon L. Ray


I have reviewed the Closing Disclosure, the settlement statement, the lender's closing instructions and any and all other forms
relative to the escrow funds, including any disclosure of the Florida title insurance premiums being paid, and I agree to disburse the
escrow funds in accordance with the terms of this transaction and Florida law.

_____________________________________________
Escrow Officer




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